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                                       UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE


In re:                                                                             Chapter 11

                                                                                   Case No. 17-12560 (KJC)
 WOODBRIDGE GROUP OF COMPANIES, LLC, et al., 1
                                                                                   Jointly Administered

         Debtors.                                                                  Objection Deadline: November 29, 2018


  SUMMARY OF FIFTH MONTHLY APPLICATION OF CONWAY MACKENZIE, INC. FOR
    PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES
             FOR THE PERIOD JUNE 1, 2018 THROUGH JUNE 30, 2018


Name of Applicant:                                                    Conway MacKenzie, Inc. (“Conway MacKenzie”)

Authorized to Provide Professional Services to:                       Ad Hoc Noteholder Group

Date of Retention:                                                    April 5, 2018 (nunc pro tunc to February 5, 2018)

Period for which compensation and
reimbursement is sought:                                              June 1, 2018 – June 30, 2018
                                                                      (the “Fifth Application Period”)

Amount of Compensation sought as actual,                              $34,813.50 (interim compensation sought for 80% of
reasonable, and necessary:                                            that amount, or $27,850.80)

Amount of Expense Reimbursement sought as                             $0.00
actual, reasonable, and necessary:

This is a _X_ monthly ___ interim ___ final application.




The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603. The mailing address for
Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423. Due to the large number of
debtors in these cases, which are being jointly administered for procedural purposes only, a complete list of the Debtors, the last four digits
of their federal tax identification numbers, and their addresses are not provided herein. A complete list of this information may be obtained
on the website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the undersigned counsel
for the Debtors.

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       The Conway MacKenzie professionals who rendered services in these cases during the Fifth
Application Period are:

         Professional                                Title               Hourly      Hours       Fees
                                                                          Rate
     Matthew D. Sedigh                    Managing Director              $595.00     37.2       $25,850.00

       Michael D. Dery                           Director                $435.00     15.3        $6,655.50
         Frank J. Sesi                           Director                $435.00     13.4        $5,829.00
      Lauren M. Belgrad                     Paraprofessional             $195.00     1.0            $195.00
Total Professional Hours and Fees                                                    66.9       $34,813.50
Blended Rate                                                             $520.38

         The total hours and fees incurred, by Task Code, during the Fifth Application Period are:

                           Task Code                                                 Hours       Fees
                       Asset Disposition                                       3.7               $2,201.50
                       Business Analysis                                       3.3               $1,963.50
                        Claims Analysis                                        9.6               $5,712.00
             Fee and Employment Applications                                   9.0               $4,955.00
                            Financing                                          0.9                  $535.50
                  Fraud / Forensic Analysis                                   27.0              $11,745.00
                       Meet / Conference                                      12.1               $6,927.50
                 Plan / Disclosure Statement                                   1.3                  $773.50
Total Hours and Fees                                                                  66.9      $34,813.50



         The total amounts of expenses, by expense type, during the Fifth Application Period are:

                              Expense Category                                               Amount
                      Total Out-of-Pocket Expenses                                                    $0.00




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                                    UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


In re:                                                                                    Chapter 11

                                                                                        Case No. 17-12560 (KJC)
                                                                                  1
 WOODBRIDGE GROUP OF COMPANIES, LLC, et al.,
                                                                                        Jointly Administered

         Debtors.                                                                       Objection Deadline: November 29, 2018


 FIFTH MONTHLY APPLICATION OF CONWAY MACKENZIE, INC. FOR PAYMENT
      OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES
            FOR THE PERIOD JUNE 1, 2018 THROUGH JUNE 30, 2018

          Pursuant to 11 U.S.C. §§ 328(a), 330, 331, and 1103; Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”); the Order Authorizing Employment and Retention

of Conway MacKenzie, Inc. as Financial Advisor for the Ad Hoc Noteholder Group (the “Retention

Order”); the Order Establishing Procedures for Interim Compensation and Reimbursement of

Expenses for Retained Professionals (the “Interim Compensation Order”); and the Local Rules for

the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), Conway

MacKenzie, Inc. (“Conway MacKenzie”), Financial Advisor to the Ad Hoc Noteholder Group (the

“Noteholder Group”), hereby files this application (the “Fifth Monthly Application”) for an order

allowing it: (a) compensation in the amount of $27,850.80, representing 80% of the $34,813.50 of

fees incurred in connection with the reasonable and necessary financial advisory services Conway

MacKenzie rendered to the Noteholder Group during the period from June 1, 2018 through June 30,




The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603. The mailing address for
Woodbridge Group of Companies, LLC is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423. Due to the large number
of debtors in these cases, which are being jointly administered for procedural purposes only, a complete list of the Debtors, the last four
digits of their federal tax identification numbers, and their addresses are not provided herein. A complete list of this information may
be obtained on the website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
undersigned counsel for the Debtors.

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2018 (the “Fifth Application Period”); and (b) reimbursement of $0.00 of actual and necessary

expenses incurred by Conway MacKenzie during the Fifth Application Period. In support of this

Fifth Monthly Application, Conway MacKenzie respectfully states as follows.

                                                     BACKGROUND

           1.      On December 4, 2017, approximately 270 of the Debtors commenced voluntary cases

under chapter 11 of the Bankruptcy Code. Thereafter, on February 9, 2018, March 9, 2018, March

23, 2018, and March 27, 2018, additional affiliated Debtors (27 in total) commenced voluntary cases

under chapter 11 of the Bankruptcy Code (collectively, the “Petition Dates”).

           2.      The Debtors are authorized to continue to operate their business and manage their

property as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No

trustee has been appointed in these Cases.

           3.      On December 14, 2017, the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”) appointed an official committee of unsecured creditors (the

“Committee”). See Docket No. 79.

           4.      On January 23, 2018, the Court held a hearing to resolve, among other matters, two

motions to appoint a chapter 11 trustee, and entered an order approving the settlement reached

between the Debtors and other parties in interest [Docket No. 357] (the “Settlement Order”). Attached

as Exhibit 1 to the Settlement Order was a term sheet enumerating the terms of the settlement (the

“Joint Resolution”). By the terms of the Joint Resolution, the Debtors’ board of managers was to be

reconstituted as a three-person board (the “New Board”). Further, the Joint Resolution provided for

the formation of the Noteholder Group and an ad hoc unitholder group (the “Unitholder Group”).

           5.      On March 19, 2018, the Application of the Ad Hoc Noteholder Group for Entry of an

Order Authorizing the Employment and Retention of Conway MacKenzie, Inc. as Financial Advisor

Nunc Pro Tunc to January 23, 2018 (the “Employment Application”) was filed.


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            6.      On April 5, 2018, the Retention Order was filed.

                       RETENTION AND CONTINUING DISINTERESTEDNESS
                                  OF CONWAY MACKENZIE

            7.      Pursuant to the Retention Order, the Noteholder Group was authorized to retain

Conway MacKenzie as their financial advisor effective as of February 5, 2018, with regard to certain

financial matters related to these chapter 11 cases (the “Chapter 11 Cases”). The Retention Order

authorizes the Debtors to compensate Conway MacKenzie in accordance with the procedures set forth

in sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the

guidelines established by the U.S. Trustee and such other procedures as may be fixed by order of the

Court.

            8.      As disclosed in the Declaration of Matthew D. Sedigh Pursuant to 28 U.S.C. 1746 in

Support of the Application of the Ad Hoc Noteholder Group Formed Pursuant to January 23, 2018

Order, for Entry of an Order Authorizing the Employment and Retention of Conway MacKenzie, Inc.

as its Financial Advisor Nunc Pro Tunc to January 23, 2018 (the “Sedigh Declaration”), filed on

March 19, 2018, Conway MacKenzie does not hold or represent any interest adverse to the Debtors’

estates, and is a disinterested person as that term is defined in section 101(14) of the Bankruptcy

Code.

            9.      Conway MacKenzie may have in the past represented, may currently represent, and

likely in the future will represent, parties-in-interest in connection with matters unrelated to the

Debtors in these Chapter 11 Cases. In the Sedigh Declaration, Conway MacKenzie disclosed its

connections to parties in interest that it has been able to ascertain using its reasonable efforts. Conway

MacKenzie will update the Sedigh Declaration, as necessary, if and when Conway MacKenzie

becomes aware of material new information.

            10.     During the Fifth Application Period, Conway MacKenzie performed the services for

which it is seeking compensation on behalf of the Noteholder Group, and not on behalf of any other

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person.

           11.     Except as provided herein, in the Sedigh Declaration, and in the Employment

Application, Conway MacKenzie has received no payment and no promises for payment from any

source for services rendered or to be rendered in any capacity in connection with these Chapter 11

Cases.

           12.     Pursuant to Bankruptcy Rule 2016(b), Conway MacKenzie has not shared, nor has

Conway MacKenzie agreed to share (a) any compensation it received or may receive with another

person other than with the shareholders and employees of Conway MacKenzie.

                                 PAYMENT AND REIMBURSEMENT REQUESTED

           13. Conway MacKenzie submits this Fifth Monthly Application (a) for payment of

compensation for actual, reasonable, and necessary professional services performed by it as financial

advisor for the Noteholder Group during the Fifth Application Period, and (b) for reimbursement of

actual, reasonable, and necessary disbursements incurred in representing the Noteholder Group

during the Fifth Application Period. This Fifth Monthly Application is made pursuant to the

provisions of the Bankruptcy Rules, the Local Rules, the U.S. Trustee Guidelines and the Interim

Compensation Order.

           14. During the Fifth Application Period, Conway MacKenzie rendered financial advisory

services to the Noteholder Group having a value of $34,813.50 in fees, calculated at Conway

MacKenzie’s usual and customary hourly rates as more specifically set forth herein. In addition,

Conway MacKenzie made disbursements to pay expenses on behalf of the Noteholder Group in the

amount of $0.00 during the Fifth Application Period. Thus, the total amount of fees (80% of the

aggregate amount of fees for the Fifth Application Period) and disbursements for which Conway

MacKenzie seeks approval and payment on an interim basis for the Fifth Application Period is

$27,850.80.


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           15. Professional services and disbursements for which compensation and reimbursement

are sought were rendered and expended on behalf of the Noteholder Group pursuant to Chapter 11 of

the Bankruptcy Code. Conway MacKenzie believes it is appropriate that it be compensated for the

services rendered and reimbursed for the disbursements incurred in connection with these matters.

All of the fees and disbursements sought to be paid or reimbursed in this Fifth Monthly Application

were actual, necessary, and reasonable, and benefited the Debtors’ estates and creditors.

           16. As set forth in the Employment Application, the Noteholder Group retained Conway

MacKenzie as its financial advisor to provide the following professional services:

              (a).      Analysis and potential litigation support and/or negotiation assistance on any

                        aspects of Noteholder treatment in the chapter 11 cases;

              (b).      Investigation and analysis of facts and issues related to whether Noteholders are

                        secured;

              (c).      Analysis of possible Noteholder benefits of substantive consolidation of the

                        Debtors’ estates;

              (d).      Presenting at meetings of the Noteholder Group, as well as meetings with other

                        key stakeholders and parties;

              (e).      Assistance in the analysis, review and monitoring of the restructuring process,

                        including, but not limited to an assessment of potential recoveries for Noteholders;

              (f).      Review and analysis of financial information prepared by the Debtors, including,

                        but not limited to, cash flow projections and budgets, business plans, cash receipts

                        and disbursement analysis, asset and liability analysis, and the economic analysis

                        of proposed transactions for which Court approval is sought;

              (g).      Review and analysis of any tax issues associated with Noteholder treatment and

                        recoveries;


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              (h).      Review and analysis necessary for the confirmation of a plan and related disclosure

                        statement in these chapter 11 proceedings;

               (i).     Attendance at meetings and assistance in discussions with the Debtors, the Official

                        Committee of Unsecured Creditors, the Ad Hoc Unitholder Group, and other

                        parties in interest and professionals hired by the same, as requested;

               (j).     Review and analysis of financial related disclosures required by the Court,

                        including Schedules of Assets and Liabilities, Statements of Financial Affairs and

                        Monthly Operating Reports;

              (k).      Review and analysis of issues on disposition of executory contracts and unexpired

                        leases;

               (l).     Review, analysis and investigation of potential causes of action, including

                        fraudulent conveyances and preferential transfers and certain transactions between

                        the Debtors and affiliated entities;

             (m).       Assistance in the prosecution of Noteholder Group responses/objections to case

                        motions, including attendance at depositions and provision of expert

                        reports/testimony on case issues as required by the Noteholder Group;

              (n).      Summary review of financial and operational information furnished by the Debtors

                        to the Noteholder Group, insofar as it relates to consolidation issues and cash

                        management requirements that mandate accurate and complete post-petition

                        intercompany accounting and allocation of professional fees and DIP draws;

              (o).      Assisting on issues of unencumbered assets, insofar as they affect DIP draw

                        requirements and adequate protection for Noteholders’ existing liens;




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               (p).      Representing Noteholders interests, as the cases’ largest economic constituency,

                         in keeping the cases’ professional fee budgeting to the minimum amounts

                         necessary;

               (q).      Representing Noteholder interests in any sale of assets of the Debtors’ estates; and

               (r).      Performing such other advisory services for the Noteholder Group as may be

                         necessary or proper in these proceedings, subject to the aforementioned scope.

                       REASONABLE AND NECESSARY SERVICES RENDERED

            17.       The following summary highlights the major areas in which Conway MacKenzie

rendered services during the Fifth Application Period. Additional detail regarding Conway

MacKenzie’s services performed during the Fifth Application Period is reflected in the time records

attached hereto as Exhibit A. Attached as Exhibit B is a summary of the total hours billed and fees

incurred, segregated among the eight (8) billing categories referenced below (the “Task Codes”),

during the Fifth Application Period. Attached as Exhibit C is a summary of the total hours billed and

fees incurred, among the Conway MacKenzie professionals assigned to these Chapter 11 Cases.

            18.       During the Fifth Application Period, Conway MacKenzie, as financial advisor to the

Noteholder Group, conferred significant value collecting and analyzing information related to the pre-

petition affairs of the Debtors. Further, as described in more detail below, during the Fifth Application

Period, Conway MacKenzie advised the Noteholder Group on a broad range of issues, began a

preliminary analysis of the Debtors’ assets and causes of action, and commenced its investigation into

the Debtors’ prepetition liens through necessary forensic accounting activities.



Asset Disposition

(Fees: $2,201.50 Hours: 3.7)




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            19.     Included within this Task Code classification are services rendered by Conway

MacKenzie to provide guidance to the Noteholder Group and Noteholder Counsel with respect to the

ongoing sale processes being undertaken by the Debtors. Specific activities include, but are not

limited to, the following:

                      a) Analyzing and reviewing the materials prepared by the Debtors and their

                            advisors regarding the proposed sales of assets;

                      b) Analyzing, reviewing, and tracking various pre-petition and post-petition

                            indications of interest received by the Debtors’ related to the various assets; and

                      c) Meeting, discussing and corresponding with the Debtors’ and/or their advisors

                            regarding the sales processes and related matters.



Business Analysis

(Fees: $1,963.50 Hours: 3.3)

            20.     Incorporated within this Task Code is work performed by Conway MacKenzie

personnel related to the evaluation and analysis of the Debtors’ business operations and projected

results in the context of these Chapter 11 Cases. Services performed by Conway MacKenzie in this

regard include the review and analysis of various financial projections and models prepared by

Debtors’ management and advisors including, but not limited to, the Debtors’ operating budgets,

monthly financial statements, publicly filed documents, and other related materials.

            21.     Also incorporated within this Task Code are services rendered by Conway MacKenzie

to analyze and review the information contained in the online data room (the “Data Room”)

established by the Debtors and their advisors to facilitate due diligence and monitoring efforts.

Specific services rendered by Conway MacKenzie during the Fifth Application Period include the

following:


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                      a) Researching and retrieving documents and additional materials posted in the

                            Data Room; and

                      b) Performing detailed analysis of pertinent documents and other materials that

                            were posted to the Data Room.

            22.     Also included within this Task Code are analyses and efforts rendered by Conway

MacKenzie to ascertain the condition of the Debtors’ operations, the achievability of projected results,

and its overall viability as a going concern. In connection therewith, Conway MacKenzie performed

a variety of research and analyses including, but not limited to, the following:

                      a) Reviewing and analyzing various projected and historical financial statements

                            and reports including the Debtors’ operating projections, construction cost

                            estimates, operating results and financial statements for the years 2013 through

                            2017, and various other financial and accounting records;

                      b) Creating a compendium of real property acquisitions from inception through

                            filing; and

                      c) Participating in conferences with management and the Debtors’ Advisors

                            regarding various aspects of the Debtors’ business operations.



Claims Analysis

(Fees: $5,712.00 Hours: 9.6)

            23.     Incorporated within this Task Code are services rendered by Conway MacKenzie

including performing various functions directly related to the research, review and reconciliation of

various potential claims (“Claims”) filed against the Debtors’ estates. Specific services provided by

Conway MacKenzie during the First Application Period include, but are not limited to, analyzing the

amount, treatment and classification of Claims filed in these Chapter 11 Cases.


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Fee and Employment Applications

(Fees: $5,712.00 Hours: 9.6)

            24.     Incorporated within this Task Code is work performed by Conway MacKenzie

personnel performing various functions directly related to complying with the retention requirements

of the Bankruptcy Code and other pertinent rules to ensure that Conway MacKenzie could properly

serve as financial advisor to the Noteholder Group in these Chapter 11 Cases. These functions include,

but are not limited to preparing the Retention Documents and the First, Second, and Third Monthly

Applications.

            25.



Financing

(Fees: $535.50 Hours: 0.9)

            26.     Incorporated within this Task Code are services rendered by Conway MacKenzie

directly related to the research, analysis and review of the debtor-in-possession financing sought

pursuant to that Debtors’ Motion for Interim and Final Orders (I) Pursuant to 11 U.S.C. §§ 105, 361,

362, 363, 364, 507, AND 552 Authorizing Debtors to (A) Obtain Post petition Secured Financing,

(B) Use Cash Collateral, (C) Grant Adequate Protection to Prepetition Secured Parties; (II) Modifying

the Automatic Stay; (III) Scheduling a Final Hearing Pursuant to Bankruptcy Rules 4001(b) AND

4001(c); and (IV) Granting Related Relief (the “DIP Motion”).



Fraud / Forensic Analysis

(Fees: $11,745.00 Hours: 27.0)

            27.     Incorporated within this Task Code is work performed by Conway MacKenzie

personnel directly related to performing a forensic analysis of various accounting records and other


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materials made available by the Debtors. Services performed by Conway MacKenzie in this regard

include the review and analysis of the Debtors’ various historical financial and accounting reports

and statements, a detailed review of the Debtors’ pre-petition disbursement activities, and other

matters related to determining the extent to which any causes of action may exist or arise.

            28.     Also reviewed in great detail was the Declaration of Soneet R. Kapila, which served

as a limited basis for establishing a foundation to analyze the complex prepetition activities of the

Debtors and their operations.



Meet / Conference

(Fees: $6,927.50 Hours: 12.1)

            29.     Conway        MacKenzie          personnel    have   participated   in   numerous   meetings,

teleconferences and discussions with members of the Noteholder Group and attorneys at Drinker

Biddle & Reath LLP (“Noteholder Group Counsel”), Debtors’ senior management team, attorneys at

Gibson Dunn & Crutcher, LLP and Klee Tuchin Bogdanoff & Stern LLP (collectively, “Debtors’

Counsel”), professionals at DSI Management, Inc. (“Debtors’ Financial Advisor”, and together with

Debtors’ Counsel, “Debtors’ Advisors”), attorneys at Pachulski Stang Ziehl & Jones LLP

(“Committee Counsel”) and professionals at FTI Consulting, Inc. (“Committee Financial Advisor”,

and together with Committee Counsel, “Committee Advisors”) regarding ongoing reorganization

efforts. Topics addressed during such interactions generally relate to global restructuring issues

and/or the status of multiple projects being worked on by Conway MacKenzie and/or other

professionals.

            30.     These meetings/teleconferences provided a forum for the Debtors’ management,

Debtors’ Advisors, Committee Advisors, Noteholder Counsel and Conway MacKenzie and served as

valuable working sessions for the purpose of pursuing restructuring efforts and tactics as well as to


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coordinate the efforts of such parties with respect to the prosecution of the Chapter 11 Cases. The

active coordination of efforts among such parties served to improve the efficiency of the

restructuring/reorganization process and to avoid any duplication of efforts.



Plan / Disclosure Statement

(Fees: $773.50 Hours: 1.3)

            31.     Incorporated within this Task Code are services rendered by Conway MacKenzie

directly related to the research, analysis and review of proposed settlement terms related to a proposed

plan of reorganization term sheet and other materials related to consummating a consensual Plan of

Reorganization filed in connection with these Chapter 11 Cases.

            32.     This Task Code also includes services rendered by Conway MacKenzie directly

related to the preparation and review of analyses for the benefit of the Noteholder Group to develop

and respond to proposals and counter-proposals for global settlement discussions with the Debtors

and the Debtors’ advisors.

            33.     These meetings/teleconferences provided a forum for the Debtors’ management,

Debtors’ Advisors, Committee Advisors, Noteholder Counsel and Conway MacKenzie and served as

valuable working sessions for the purpose of pursuing restructuring efforts and tactics as well as to

coordinate the efforts of such parties with respect to the prosecution of the Chapter 11 Cases. The

active coordination of efforts among such parties served to improve the efficiency of the

restructuring/reorganization process and to avoid any duplication of efforts.



                                    ACTUAL AND NECESSARY EXPENSES

            34.     Conway MacKenzie has incurred out-of-pocket expenses in the amount of $0.00 in

connection with the services it provided to the Noteholder Group during the Fifth Application Period.


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            35.     In a future application, Conway MacKenzie may seek reimbursement of additional

expenses advanced or incurred during this Fifth Application Period.




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                                                      CONCLUSION

            WHEREFORE, by this Fifth Monthly Application, Conway MacKenzie respectfully

requests interim approval of fees and expenses incurred during the Fifth Application Period in the

total amount of $27,850.80 consisting of: (a) $27,850.80, which represents 80% of the $34,803.50 in

fees incurred for reasonable and necessary professional services rendered; and (b) $0.00 for actual

and necessary costs and expenses incurred. Conway MacKenzie further requests that the Debtors be

authorized to remit to Conway MacKenzie all amounts due and owing as an administrative expense

in accordance with the Interim Compensation Order, and grant such other and further relief as this

Court may deem just and proper.

            Executed this 6th of November, 2018 in Los Angeles, California.


                                                            CONWAY MACKENZIE, INC.

                                                            By:         /s/ Matthew D. Sedigh
                                                                  Matthew D. Sedigh
                                                                  333 South Hope Street, Suite 3625
                                                                  Los Angeles, CA 90036
                                                                  Phone: (213) 416-6215
                                                                  MSedigh@ConwayMacKenzie.com

                                                            Financial Advisor to the Ad Hoc Noteholder
                                                            Group




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